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     Attorney for Plaintiff
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9
                              UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
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      BEN FABRIKANT,                                  Case No.: 8:22-cv-00224-JLS-JDE
13                     Plaintiff,
                                                      STIPULATION OF VOLUNTARY
14          v.                                        DISMISSAL
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      VERCY L.L.C., a California business
16    entity, et. al.,
17                   Defendants.
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           Now Comes Plaintiff BEN FABRIKANT, in his individual capacity, and
19
20   Defendant VERCY L.L.C., by and through their respective attorneys, and pursuant to
21   Rule 41(a)(1)(A)(ii), hereby stipulate to the dismissal of all claims with prejudice, with
22
     each side bearing their own costs and attorney’s fees.
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24
25         Dated: June 6, 2022                     Respectfully submitted,
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27                                          By:    /s/ Mark L. Javitch
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     STIPULATION OF
     VOLUNTARY DISMISSAL                          1                          8:22-cv-00224-JLS-JDE
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1
                                               Mark L. Javitch
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                                               Attorneys for Plaintiff
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                                         By:   /s/ Brent R. Phillips
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                                               Brent R. Phillips
6                                              Attorneys for Defendant
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           PURSUANT TO STIPULATION, IT IS SO ORDERED.
9
10                                       By:
11                                             Hon. Josephine L. Staton
                                               United States District Court Judge
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     STIPULATION OF
     VOLUNTARY DISMISSAL                       2                         8:22-cv-00224-JLS-JDE
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1                              Local Rule 5-4.3.4(a)(2)(i) Attestation
2          Although this stipulation representing more than one electronic signature is being
3    filed under the ECF/CM login belonging solely to Mark L. Javitch, attorney for Plaintiff,
4    Local Rule 5-4.3.4(a)(2)(i) permits the filer to attest that concurrence in the filing of the
5    document has been obtained from each of the other signatories, which shall serve in lieu
6    of their signatures on the document.
7
           Therefore, in accordance with LR 5-4.3.4(a)(2)(i), I hereby attest that I have
8
     received concurrence in the content of this filing or authorization from each signatory
9
     shown in this document to use their e-signature for the purposes of filing this document.
10
11
           DATED: June 6, 2022               By:    /s/ Mark L. Javitch
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     STIPULATION OF
     VOLUNTARY DISMISSAL                            3                         8:22-cv-00224-JLS-JDE
